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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
ACACIA GONZALEZ,                                               :

                          Plaintiff,                         :           ORDER

        -against-                                            :
                                                                   20 Civ. 3854 (ALC) (GWG)
                                                             :

INGE THERON, et al.,                                         :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        In light of the referral of this case to the mediation program, the conference scheduled for

January 15, 2021, is cancelled. The parties shall file a letter on ECF within 7 days of the

conclusion of the mediation reporting as to the status of this matter.


        SO ORDERED.

Dated: January 11, 2021
       New York, New York
                                                             ______________________________
                                                             GABRIEL W. GORENSTEIN
                                                             United States Magistrate Judge




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